            Case 18-1225, Document 4-2, 04/26/2018, 2289862, Page1 of 8




             Activity in Case 1:17-cv-05618-ER In Re: Neelam Taneja aka Neelam Uppal
             Appeal Record Sent to USCA - Electronic File
             NYSD_ECF_Pool to: CourtMail                                      04/25/2018 11:02 AM


This is an automatic e-mail message generated by the CM/ECF system. Please DO NOT
RESPOND to this e-mail because the mail box is unattended.
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                                      U.S. District Court

                                Southern District of New York

Notice of Electronic Filing

The following transaction was entered on 4/25/2018 at 11:01 AM EDT and filed on 4/25/2018
                    In Re: Neelam Taneja aka Neelam
Case Name:
                    Uppal
Case Number:        1:17-cv-05618-ER
Filer:
WARNING: CASE CLOSED on 04/18/2018
Document
                    No document attached
Number:

Docket Text:
Appeal Record Sent to USCA (Electronic File). Certified Indexed record on Appeal
Electronic Files for [69] Notice of Appeal filed by Neelam Taneja were transmitted
to the U.S. Court of Appeals. (tp)


1:17-cv-05618-ER Notice has been electronically mailed to:

George F. Indest    gindest@thehealthlawfirm.com, CourtFilings@TheHealthLawFirm.com

Neelam Taneja      nneelu123@aol.com

1:17-cv-05618-ER Notice has been delivered by other means to:
            Case1:17-cv-05618-ER
           Case: 18-1225, DocumentAs
                                   4-2,
                                     of:04/26/2018,
                                         04/26/2018 2289862,
                                                    11:06 AM Page2
                                                             EDT 1ofof8 7
                                                                     CLOSED,APPEAL,ECF,PRO−SE
                                  U.S. District Court
                     Southern District of New York (Foley Square)
                    CIVIL DOCKET FOR CASE #: 1:17−cv−05618−ER

In Re: Neelam Taneja aka Neelam Uppal                        Date Filed: 07/24/2017
Assigned to: Judge Edgardo Ramos                             Date Terminated: 04/18/2018
Case in other court: USBC−SDNY, 16−B−12356                   Jury Demand: None
Cause: 28:0158 Notice of Appeal re Bankruptcy Matter (BA     Nature of Suit: 422 Bankruptcy Appeal
                                                             (801)
                                                             Jurisdiction: Federal Question
In Re
Neelam Taneja                                 represented by Neelam Taneja
also known as                                                P.O. Box 1002
Neelam Uppal                                                 Largo, FL 33779
                                                             646/740−9141
                                                             PRO SE

Debtor
Neelam Taneja                                 represented by Neelam Taneja
also known as                                                P.O. Box 1002
Neelam Uppal                                                 Largo, FL 33779
                                                             646/740−9141
                                                             Email: nneelu123@aol.com
                                                             PRO SE

Appellant
Neelam Taneja                                 represented by Neelam Taneja
also known as                                                (See above for address)
Neelam Uppal                                                 PRO SE


V.
Appellee
The Health Law Firm                           represented by George F. Indest
                                                             The Health Law Firm
                                                             1101 Douglas Avenue
                                                             Altamonte Springs, FL 32714
                                                             (407)−331−6620
                                                             Fax: (407)−331−3030
                                                             Email: gindest@thehealthlawfirm.com
                                                             LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED

Appellee
George Indest                                 represented by George F. Indest
                                                             (See above for address)
                                                             LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED


 Date Filed     #   Docket Text
 07/24/2017     1 NOTICE OF APPEAL FROM THE BANKRUPTCY COURT TO THE S.D.N.Y.
                  from the Judgment of Judge Cecelia G. Morris dated 07/19/2017. Bankruptcy Court
                  Case Numbers: 16−B−12356, 17−01027A (CGM). Certified copies of file
                  received.Document filed by Neelam Taneja.(bmlo) (Entered: 07/24/2017)
         Case1:17-cv-05618-ER
        Case: 18-1225, DocumentAs
                                4-2,
                                  of:04/26/2018,
                                      04/26/2018 2289862,
                                                 11:06 AM Page3
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07/24/2017       Case Designated ECF. (bmlo) (Entered: 07/24/2017)
07/24/2017    2 DESIGNATION OF BANKRUPTCY RECORD ON APPEAL and Statement of
                Issues re: 1 Bankruptcy Appeal. Document filed by Appellant Neelam Taneja. (bmlo)
                (Entered: 07/24/2017)
07/24/2017       Magistrate Judge Henry B. Pitman is so designated. Pursuant to 28 U.S.C. Section
                 636(c) and Fed. R. Civ. P. 73(b)(1) parties are notified that they may consent to
                 proceed before a United States Magistrate Judge. Parties who wish to consent may
                 access the necessary form at the following link: http://nysd.uscourts.gov/forms.php.
                 (bmlo) (Entered: 07/24/2017)
08/31/2017    3 COUNTER DESIGNATION OF BANKRUPTCY RECORD ON APPEAL re: 1
                Bankruptcy Appeal,. Document filed by Appellee George Indest. (bmlo) (Entered:
                08/31/2017)
08/31/2017    4 NOTICE OF RECORD OF APPEAL AVAILABILITY (COMPLETION). Re: 1
                Bankruptcy Appeal,. All Documents from the United States Bankruptcy Court −
                Southern District of New York have been filed with the U.S.D.C. S.D.N.Y. Record of
                Appeal is Complete and Available Electronically. Appellant Brief due by 10/2/2017.
                (bmlo) (Entered: 08/31/2017)
09/08/2017    5 DEBTOR'S EMERGENCY MOTION FOR STAY PENDING APPEAL; re: 1
                Bankruptcy Appeal,. Document filed by Neelam Taneja.(sc) (Entered: 09/08/2017)
09/08/2017    6 ORDER entered 5 Motion to Stay. Appellees' response to Debtor's emergency motion
                for stay pending appeal, Doc. 5, is due on September 15, 2017. (HEREBY ORDERED
                by Judge Edgardo Ramos)(Text Only Order) Copies of Notice of Electronic Filing
                Mailed By Chambers. (Ramos, Edgardo) (Entered: 09/08/2017)
09/12/2017    7 ORDER re: 5 MOTION to Stay re: 1 Bankruptcy Appeal filed by Neelam Taneja: On
                July 24, 2017, Neelam Teneja ("Appellant") filed her notice of appeal from the
                bankruptcy court. Doc. 1. On September 8, 2017, Appellant filed an emergency motion
                for stay pending appeal, Doc. 5, and the Court ordered The Health Law Firm and
                George Indest's ("Appellees"') response due on September 15, 2017. However,
                Appellees have not yet appeared in this matter and no certificate of service to
                Appellees was included in Appellant's motion for stay pending appeal. See Doc. 5.
                Appellant is therefore ordered to serve Appellees with a copy of the emergency motion
                for stay pending appeal. The deadline for Appellees' response is extended to two
                weeks from the date of service. The Clerk of the Court is respectfully directed to mail
                a copy of this Order to Appellant. (Signed by Judge Edgardo Ramos on 9/12/2017)
                (jwh) (Entered: 09/12/2017)
09/12/2017       Transmission to Docket Assistant Clerk. Transmitted re: 7 Order to the Docket
                 Assistant Clerk for case processing. (jwh) (Entered: 09/13/2017)
09/13/2017       Mailed a copy of 7 Order to Neelam Taneja, 1370 Broadway, #504, New York, NY
                 10018. (rro) (Entered: 09/13/2017)
09/15/2017    8 AFFIRMATION OF SERVICE of Emergency Motion to Stay ; served on George
                Tudest, Health Law Firm on 9/14/17. Service was made by Cert. Mail. Document filed
                by Neelam Taneja. (sc) (Entered: 09/18/2017)
09/15/2017    9 AMENDED NOTICE OF APPEAL FROM THE BANKRUPTCY COURT TO THE
                S.D.N.Y. from the Order of Judge Cecelia G. Morris dated 9/12/2017, amending 1
                Bankruptcy Appeal. Document filed by Neelam Taneja. Related document: 1
                Bankruptcy Appeal.(bmlo) (Entered: 09/22/2017)
09/22/2017   10 FILING ERROR − DEFICIENT DOCKET ENTRY − MOTION for George F.
                Indest III to Appear Pro Hac Vice . Filing fee $ 200.00, receipt number
                0208−14161151. Motion and supporting papers to be reviewed by Clerk's Office
                staff. Document filed by George Indest. (Attachments: # 1 Affidavit Affidavit of
                George F. Indest III, # 2 Florida−Letter of Good Standing, # 3 Louisiana−Letter of
                Good Standing, # 4 District of Columbia−Letter of Good Standing)(Indest, George)
                Modified on 9/25/2017 (bcu). (Entered: 09/22/2017)
09/25/2017       >>>NOTICE REGARDING DEFICIENT MOTION TO APPEAR PRO HAC
                 VICE. Notice to RE−FILE Document No. 10 MOTION for George F. Indest III to
         Case1:17-cv-05618-ER
        Case: 18-1225, DocumentAs
                                4-2,
                                  of:04/26/2018,
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                 Appear Pro Hac Vice . Filing fee $ 200.00, receipt number 0208−14161151.
                 Motion and supporting papers to be reviewed by Clerk's Office staff... The filing
                 is deficient for the following reason(s): missing Certificate of Good Standing from
                 Supreme Court of Louisiana; missing Proposed Order;. Re−file the motion as a
                 Corrected Motion to Appear Pro Hac Vice − attach the correct signed PDF −
                 select the correct named filer/filers − attach valid Certificates of Good Standing
                 issued within the past 30 days − attach Proposed Order.. (bcu) (Entered:
                 09/25/2017)
09/27/2017   11 MOTION for George F. Indest III to Appear Pro Hac Vice . Motion and supporting
                papers to be reviewed by Clerk's Office staff. Document filed by George Indest.
                (Attachments: # 1 Affidavit Affidavit of George F. Indest III, # 2 Florida−Letter of
                Good Standing, # 3 Louisiana−Letter of Good Standing, # 4 District of
                Columbia−Letter of Good Standing, # 5 Proposed Order)(Indest, George) (Entered:
                09/27/2017)
09/27/2017       >>>NOTICE REGARDING PRO HAC VICE MOTION. Regarding Document
                 No. 11 MOTION for George F. Indest III to Appear Pro Hac Vice . Motion and
                 supporting papers to be reviewed by Clerk's Office staff.. The document has been
                 reviewed and there are no deficiencies. (bcu) (Entered: 09/27/2017)
09/28/2017   12 NOTICE OF APPEARANCE by George F. Indest on behalf of The Health Law Firm.
                (Indest, George) (Entered: 09/28/2017)
09/28/2017   13 RESPONSE in Opposition to Motion re: 5 MOTION to Stay re: 1 Bankruptcy Appeal,.
                . Document filed by George Indest. (Attachments: # 1 Exhibit Index to Exhibits, # 2
                Exhibit Exhibit 1 − Order, # 3 Exhibit Exhibit 2 − Final Judgment, # 4 Exhibit Exhibit
                3 − Order, # 5 Exhibit Exhibit 4 − Trustee Status Report, # 6 Exhibit Exhibit 5 −
                Notice of Writ, # 7 Exhibit Exhibit 6 − Order)(Indest, George) (Entered: 09/28/2017)
09/29/2017   14 UNSIGNED ORDER TO SHOW CAUSE. filed by Neelam Taneja. (rdz) (Entered:
                09/29/2017)
09/30/2017   15 FILING ERROR − WRONG EVENT TYPE SELECTED FROM MENU −
                MOTION to Strike Document No. 14 Opposition to "Order to Show Cause".
                Document filed by George Indest. (Attachments: # 1 Exhibit Index to Exhibits, # 2
                Exhibit Ex 1 − Final Judgment, # 3 Exhibit Ex 2 − Order Denying Stay, # 4 Exhibit Ex
                3 − Order Granting Dismissal, # 5 Exhibit Ex 4 − Notice of Hearing, # 6 Exhibit Ex 5
                − Motion to Recuse, # 7 Exhibit Ex 6 − Order Denying Recusal, # 8 Exhibit Ex 7 −
                False Filing, # 9 Exhibit Ex 8 − Opposition to Objection, # 10 Exhibit Ex 9 − Notice of
                False Filing, # 11 Exhibit Ex 10 − Final Judgment, # 12 Exhibit Ex 11 − Order to
                Show Cause)(Indest, George) Modified on 10/2/2017 (db). (Entered: 09/30/2017)
10/02/2017       ***NOTICE TO ATTORNEY TO RE−FILE DOCUMENT − EVENT TYPE
                 ERROR. Notice to Attorney George F. Indest to RE−FILE Document 15
                 MOTION to Strike Document No. 14 Opposition to "Order to Show Cause". Use
                 the event type Response to Order to Show Cause found under the event list Other
                 Answers. (db) (Entered: 10/02/2017)
10/02/2017   16 (Affirmation)OBJECTION TO MOTION TO STRIKE, re: 15 MOTION to Strike
                Document No. 14 Opposition to "Order to Show Cause". Document filed by Neelam
                Uppal. (Attachments: # 1 Exhibit)(sc) (Entered: 10/03/2017)
10/03/2017   17 RESPONSE re: 14 Order to Show Cause − Unsigned Opposition to "Order to Show
                Cause". Document filed by The Health Law Firm. (Attachments: # 1 Exhibit Index to
                Exhibits, # 2 Exhibit Ex 1 − Final Judgment, # 3 Exhibit Ex 2 − Order Denying Stay, #
                4 Exhibit Ex 3 − Order Dismissing Appeal, # 5 Exhibit Ex 4 − Notice of Hearing, # 6
                Exhibit Ex 5 − Motion to Recuse, # 7 Exhibit Ex 6 − Order Denying Recusal, # 8
                Exhibit Ex 7 − False Filing, # 9 Exhibit Ex 8 − Reply to Objection, # 10 Exhibit Ex 9
                − Notice of False Filing, # 11 Exhibit Ex 10 − Final Judgment, # 12 Exhibit Ex 11 −
                Order to Show Cause)(Indest, George) Modified on 10/3/2017 (sc). (Entered:
                10/03/2017)
10/04/2017   18 ORDER granting 11 Motion for George F. Indest III to Appear Pro Hac Vice.
                (HEREBY ORDERED by Judge Edgardo Ramos)(Text Only Order) (Ramos,
                Edgardo) (Entered: 10/04/2017)
         Case1:17-cv-05618-ER
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                                4-2,
                                  of:04/26/2018,
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10/12/2017   19 NOTICE of of Appellees' Opposition to Appellant's Untimely Motion for Extension to
                File Brief. Document filed by George Indest. (Attachments: # 1 Exhibit Index to
                Exhibits, # 2 Exhibit Ex 1 − Motion to Extend, # 3 Exhibit Ex 2 − Order Denying
                Extension, # 4 Exhibit Ex 3 − Motion to Extend, # 5 Exhibit Ex 4 − Docket Sheet
                (excerpt))(Indest, George) (Entered: 10/12/2017)
10/12/2017   20 MOTION FOR EXTENSION OF TIME TO FILE BRIEF. Document filed by Neelam
                Taneja.(sc) (Entered: 10/16/2017)
10/16/2017   21 RESPONSE in Opposition to Motion re: 20 MOTION for Extension of Time to File. .
                Document filed by George Indest. (Attachments: # 1 Exhibit Index to Exhibits, # 2
                Exhibit Ex 1 − Motion to Extend, # 3 Exhibit Ex 2 − Order Denying Extension, # 4
                Exhibit Ex 3 − Motion to Extend, # 5 Exhibit Ex 4 − Docket Sheet (excerpt))(Indest,
                George) (Entered: 10/16/2017)
10/16/2017   22 BRIEF & OPPOSITION T DOC. 13; re: 13 Response in Opposition to Motion.
                Document filed by Neelam Taneja. (sc) (Entered: 10/17/2017)
10/18/2017   23 MOTION to Strike Document No. 22 Appellant's Unauthorized Opposition to
                Opposition. Document filed by George Indest.(Indest, George) (Entered: 10/18/2017)
10/19/2017   24 MEMO ENDORSEMENT granting 20 Letter Motion for Extension of Time to File
                Brief. ENDORSEMENT: Appellant's brief is now due November 2, 2017. The Clerk
                of Court is respectfully directed to mail a copy of this Order to Plaintiff. (Signed by
                Judge Edgardo Ramos on 10/19/2017) (cf) (Entered: 10/19/2017)
10/19/2017       Set/Reset Deadlines: Appellant Brief due by 11/2/2017. (cf) (Entered: 10/19/2017)
10/19/2017       Transmission to Docket Assistant Clerk. Transmitted re: 24 Order to the Docket
                 Assistant Clerk for case processing. (cf) (Entered: 10/19/2017)
10/20/2017       Mailed a copy of 24 Order on Motion for Extension of Time to File to Neelam Taneja,
                 1370 Broadway, #504, New York, NY 10018. (rro) (Entered: 10/20/2017)
10/24/2017   25 RESPONSE TO OPPOSITION, re: 21 Response in Opposition to Motion. Document
                filed by Neelam Taneja. (sc) (Entered: 10/24/2017)
10/27/2017   26 MOTION for Sanctions Damages, Attorney's Fees and Costs. Document filed by
                George Indest. (Attachments: # 1 Exhibit Index to Exhibits, # 2 Exhibit Ex 1 − Order
                Awarding Sanctions, # 3 Exhibit Ex 2 − Decisions of Chief Bankruptcy Judge Morris,
                # 4 Exhibit Ex 3 − Order of Dismissal, # 5 Exhibit Ex 4 − Letter serving advance copy
                Motion for Sanctions)(Indest, George) (Entered: 10/27/2017)
10/30/2017   27 (Affirmation)OPPOSITION TO MOTION TO STRIKE; re: 23 MOTION to Strike
                Document No. 22 Appellant's Unauthorized Opposition to Opposition. Document filed
                by Neelam Taneja. (sc) (Entered: 10/30/2017)
11/01/2017   28 APPELLANT'S INITIAL BRIEF(Amended). Document filed by Neelam Taneja.
                Appellee Brief due by 12/1/2017. (sc) (Entered: 11/01/2017)
11/01/2017   29 APPELLANT'S APPENDIX TO INITIAL BRIEF; re: to 28 Appellant's Brief.
                Document filed by Neelam Taneja.(sc) (Entered: 11/01/2017)
11/01/2017   30 SUPPLEMENT TO DESIGNATION OF ITEMS; re: to 2 Designation of Record on
                Appeal. Document filed by Neelam Taneja.(sc) (Entered: 11/01/2017)
11/03/2017   31 Objection re: 30 Appendix . Document filed by George Indest. (Indest, George)
                (Entered: 11/03/2017)
11/13/2017   32 OBJECTION TO OPPOSITION TO SUPPLEMENT TO DESIGNATION; re: 31
                Objection (non−motion). Document filed by Neelam Taneja. (sc) (Entered:
                11/13/2017)
11/13/2017   33 (Affirmation)OPPOSITION TO ATTONEY FEES & CROSS−MOTION; re: 26
                MOTION for Sanctions Damages, Attorney's Fees and Costs. Document filed by
                Neelam Taneja. (sc) (Entered: 11/13/2017)
11/13/2017   34 NOTICE of Filing of Appellees' Reply to Opposition and Opposition to Cross−Motion
                (Doc. 33). Document filed by George Indest, The Health Law Firm. (Indest, George)
                (Entered: 11/13/2017)
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                                4-2,
                                  of:04/26/2018,
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11/20/2017   35 ORDER denying 5 Motion to Stay; denying 23 Motion to Strike: For the
                aforementioned reasons, Health Law's motion to strike is DENIED. In addition,
                Taneja's motion to stay and request for an order to show cause are DENIED. The Clerk
                of Court is respectfully directed to terminate the motions (Docs. 5 and 23) and mail a
                copy of this Order to Debtor. (Signed by Judge Edgardo Ramos on 11/20/2017) (jwh)
                Modified on 11/28/2017 (jwh). (Entered: 11/21/2017)
11/20/2017       Transmission to Docket Assistant Clerk. Transmitted re: 35 Order on Motion to Stay,
                 Order on Motion to Strike, to the Docket Assistant Clerk for case processing. (jwh)
                 (Entered: 11/21/2017)
11/21/2017   36 OBJECTION TO OPPOSITION TO CROSS−MOTION; re: 33 Affirmation in
                Opposition to Motion. Document filed by Neelam Taneja. (sc) (Entered: 11/21/2017)
11/21/2017       Mailed a copy of 35 Order on Motion to Stay, Order on Motion to Strike, to Neelam
                 Taneja 1370 Broadway #504 New York, NY 10018. (jgo) (Entered: 11/21/2017)
11/28/2017   37 EMERGENCY MOTION FOR RECONSIDERATION OF ORDER TO SHOW
                CAUSE FOR STAY & INJUNCTIVE RELIEF; re: 35 Order on Motion to Stay, Order
                on Motion to Strike. Document filed by Neelam Taneja.(sc) (Entered: 11/29/2017)
11/29/2017   38 MOTION for Extension of Time to File Answer Brief. Document filed by George
                Indest.(Indest, George) (Entered: 11/29/2017)
11/30/2017   39 MOTION to Direct Appellant Neelam Taneja Uppal to Comply with Rules of
                Procedure & Authorize Clerk of Court to Stirke Noncompliant Documents. Document
                filed by George Indest, The Health Law Firm. (Attachments: # 1 Exhibit 1−Order of
                S.D. N.Y. dismissing Case No. 17−cv−7072)(Indest, George) (Entered: 11/30/2017)
11/30/2017   40 MEMO ENDORSEMENT granting 38 Motion for Extension of Time.
                ENDORSEMENT: Appellees' deadline to respond to Appellant's brief is adjourned to
                December 30, 2017. (Appellee Brief due by 12/30/2017.) (Signed by Judge Edgardo
                Ramos on 11/30/2017) (jwh) Modified on 12/12/2017 (jwh). (Entered: 12/01/2017)
12/01/2017   41 ORDER granting 39 Motion to Direct: Although in some instances, Health Law is
                incorrect about Taneja's compliance with the applicable rules of procedure, its motion
                is GRANTED and this Court orders Taneja to comply with the requirements of the
                Federal Rules of Civil Procedure, the Federal Appellate Rules of Procedure, and the
                Federal Rules of Bankruptcy Procedure, including that Taneja must: (1) sign and date
                all documents filed; (2) submit factual evidence for the Court's consideration through
                signed and notarized affidavits; and (3) correctly listing the case caption, party names,
                and attorney of record's name and law firm on every pleading, It is SO ORDERED.
                The Clerk of Court is respectfully directed to terminate the motion (Doc. 39) and to
                mail a copy of this order to Taneja. (Signed by Judge Edgardo Ramos on 12/1/2017)
                (jwh) (Entered: 12/01/2017)
12/01/2017       Transmission to Docket Assistant Clerk. Transmitted re: 41 Order on Motion to Direct
                 to the Docket Assistant Clerk for case processing. (jwh) (Entered: 12/01/2017)
12/01/2017   42 PRO SE CONSENT TO RECEIVE ELECTRONIC SERVICE. The following party:
                N. Uppal consents to receive electronic service via the ECF system. Document filed by
                Neelam Taneja.(sc) (sc). (Entered: 12/04/2017)
12/01/2017   43 (Affirmation)OBJECTION TO MOTION FOR COMPLIANCE; re: 39 MOTION to
                Direct Appellant Neelam Taneja Uppal to Comply with Rules of Procedure &
                Authorize Clerk of Court to Stirke Noncompliant Documents. Document filed by
                Neelam Taneja. (sc) (Entered: 12/04/2017)
12/01/2017   44 PRO SE MEMORANDUM dated 12/1/17 re: CHANGE OF ADDRESS for Neelam T.
                Uppal, Neelam Uppal, Neelam Taneja. New Address: P.O. Box 1002, Largo, Florida,
                33779. (sc) (Entered: 12/04/2017)
12/04/2017       Mailed a copy of 41 Order on Motion to Direct to Neelam Taneja, P.O. Box 1002,
                 Largo, FL 33779. (rro) (Entered: 12/04/2017)
12/18/2017   45 SUGGESTION OF BANKRUPTCY upon the record . Document filed by George
                Indest, The Health Law Firm (Attachments: # 1 Exhibit Notice of Chapter 13
                Bankruptcy Case)(Indest, George) (Entered: 12/18/2017)
         Case1:17-cv-05618-ER
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12/21/2017   46 ORDER denying 37 Motion for Reconsideration. For the aforementioned reasons,
                Taneja's motion for reconsideration is DENIED. The Clerk of Court is respectfully
                directed to terminate the motion (Doc. 37). (Signed by Judge Edgardo Ramos on
                12/20/2017) (cf) (Entered: 12/21/2017)
12/27/2017   47 SECOND MOTION for Extension of Time to File Answer Brief. Document filed by
                George Indest. (Attachments: # 1 Exhibit Index to Exhibits, # 2 Exhibit Ex 1−Notice
                Ch 13 Bankruptcy, # 3 Exhibit Ex 2−Notice of Preliminary Hearing, # 4 Exhibit Ex
                3−Uppal "Order to Show Cause for Stay)(Indest, George) (Entered: 12/27/2017)
12/28/2017   48 MEMO ENDORSEMENT granting 47 Motion for Extension of Time to Answer.
                ENDORSEMENT: Defendants' motion for an extension is GRANTED. Defendants'
                answer brief will be due on February 16, 2018. SO ORDERED. (Signed by Judge
                Edgardo Ramos on 12/28/2017) (jwh) Modified on 12/29/2017 (jwh). (Entered:
                12/29/2017)
12/28/2017       Set/Reset Deadlines: Appellee Brief due by 2/16/2018. (jwh) (Entered: 12/29/2017)
01/03/2018   49 OBJECTION TO EXTENSION & CROSS−MOTION FOR SUMMARY ORDER TO
                DECLARE LOWER COURT'S JUDGMENT NULL & VOID; re: 47 SECOND
                MOTION for Extension of Time to File Answer Brief. Document filed by Neelam
                Taneja. (sc) (Entered: 01/03/2018)
01/05/2018   50 MEMO ENDORSEMENT on re: 49 Objection (non−motion) filed by Neelam Taneja.
                ENDORSEMENT: The application is DENIED as moot. (Signed by Judge Edgardo
                Ramos on 1/5/2018) (mml) (Entered: 01/05/2018)
01/13/2018   51 NOTICE of Filing Decision of Florida Bankruptcy Court Dismissing Appellant's
                Florida Bankruptcy. Document filed by George Indest. (Attachments: # 1 Exhibit Ex
                1−Order Dismissing Bankruptcy)(Indest, George) (Entered: 01/13/2018)
01/29/2018   52 NOTICE of Filing U.S. Supreme Court Denying Petition for Writ of Certiorari.
                Document filed by George Indest. (Attachments: # 1 Exhibit U.S. Sup. Ct.
                Dismissal)(Indest, George) (Entered: 01/29/2018)
02/15/2018   53 Appellee's BRIEF. Document filed by George Indest. Appellant Reply Brief due by
                3/1/2018. (Indest, George) (Entered: 02/15/2018)
02/21/2018   54 MOTION to Amend/Correct 53 Appellee's Brief . Document filed by George Indest.
                (Attachments: # 1 Exhibit Amended Answer Brief)(Indest, George) (Entered:
                02/21/2018)
02/23/2018   55 MEMO ENDORSEMENT granting 54 Motion to Amend/Correct. ENDORSEMENT:
                Creditors' motion is GRANTED. Debtor's time to file a reply brief will be extended to
                March 8, 2018. (Signed by Judge Edgardo Ramos on 2/23/2018) (jwh) (Entered:
                02/23/2018)
02/23/2018       Set/Reset Deadlines: Appellant Reply Brief due by 3/8/2018. (jwh) (Entered:
                 02/23/2018)
02/27/2018   56 APPELLANT'S OBJECTION(Affirmation) TO APPELLEE'S MOTION TO AMEND
                & CROSS−MOTION FOR SANCTIONS OF THE APPELLEE; re: 54 MOTION to
                Amend/Correct 53 Appellee's Brief . Document filed by Neelam Taneja. (sc) (Entered:
                02/28/2018)
03/01/2018   57 MEMO ENDORSEMENT on re: 56 Affirmation in Opposition to Motion filed by
                Neelam Taneja. ENDORSEMENT: Ms. Uppal's objection is DENIED as moot. Her
                reply brief is due by March 8, 2018. (Appellant Reply Brief due by 3/8/2018.) (Signed
                by Judge Edgardo Ramos on 3/1/2018) (jwh) (Entered: 03/02/2018)
03/08/2018   58 APPELLANT'S REPLY BRIEF. Document filed by Neelam Taneja. (sc) (Entered:
                03/08/2018)
03/08/2018   59 APPELLANT'S APPENDIX TO REPLY BRIEF; re: to 58 Appellant's Reply Brief.
                Document filed by Neelam Taneja.(sc) (Entered: 03/08/2018)
03/13/2018   60 NOTICE of Related Cases. Document filed by George Indest. (Indest, George)
                (Entered: 03/13/2018)
         Case1:17-cv-05618-ER
        Case: 18-1225, DocumentAs
                                4-2,
                                  of:04/26/2018,
                                      04/26/2018 2289862,
                                                 11:06 AM Page8
                                                          EDT 7ofof8 7
03/18/2018   61 MOTION to Strike Document No. 59 . Document filed by George Indest.(Indest,
                George) (Entered: 03/18/2018)
03/19/2018   62 OBJECTION(Opposition) TO NOTICE OF FILING. Document filed by Neelam
                Taneja. (sc) (Entered: 03/19/2018)
03/20/2018   63 RESPONSE re: 62 Objection (non−motion) in Opposition. Document filed by George
                Indest. (Attachments: # 1 Exhibit Exhibit 1 − Docket Sheet)(Indest, George) (Entered:
                03/20/2018)
03/20/2018   64 (Affirmation)APPELLANT'S OPPOSITION TO MOTION TO STRIKE REPLY
                BRIEF APPENDIX re: 61 MOTION to Strike Document No. 59 . Document filed by
                Neelam Taneja. (sc) Modified on 3/20/2018 (sc). (Entered: 03/20/2018)
03/22/2018   65 OBJECTION TO EXHIBIT. Document filed by Neelam Taneja. (sc) (Entered:
                03/23/2018)
03/29/2018   66 ADDENDUM re: to 65 OBJECTION TO EXHIBIT. Document filed by Neelam
                Taneja.(sac) (Entered: 04/02/2018)
04/16/2018   67 OPINION AND ORDER re: 26 MOTION for Sanctions Damages, Attorney's Fees
                and Costs filed by George Indest, 61 MOTION to Strike Document No. 59 filed by
                George Indest. For the aforementioned reasons, the decisions of the Bankruptcy Judge
                are AFFIRMED and Health Law's motion for sanctions is GRANTED. The Clerk of
                Court is respectfully directed to terminate the outstanding motions (Docs. 26 and 61)
                and mail a copy of this Order to Debtor. (Signed by Judge Edgardo Ramos on
                4/16/2018) (mro) (Entered: 04/17/2018)
04/16/2018       Transmission to Docket Assistant Clerk. Transmitted re: 67 Memorandum & Opinion,
                 to the Docket Assistant Clerk for case processing. (mro) (Entered: 04/17/2018)
04/16/2018       Transmission to Judgments and Orders Clerk. Transmitted re: 67 Memorandum &
                 Opinion, to the Judgments and Orders Clerk. (mro) (Entered: 04/18/2018)
04/17/2018       Mailed a copy of 67 Memorandum & Opinion to Neelam Taneja, P.O. Box 1002,
                 Largo, FL 33779. (rro) (Entered: 04/17/2018)
04/18/2018   68 CLERK'S JUDGMENT re: 67 Memorandum & Opinion in favor of The Health Law
                Firm, George Indest against Neelam Taneja in the amount of $5,000.00. It is hereby
                ORDERED, ADJUDGED AND DECREED: That for the reasons stated in the Court's
                Opinion and Order dated April 16, 2018, the decisions of the Bankruptcy Judge are
                AFFIRMED and Health Law's motion for sanctions is GRANTED. Taneja is to refrain
                from making further frivolous filings and sanctions her in the form of a $5,000.00 fee
                to be paid to Appellees. (Signed by Clerk of Court Ruby Krajick on 04/18/2018)
                (Attachments: # 1 Right to Appeal)(km) (Entered: 04/18/2018)
04/18/2018       Transmission to Docket Assistant Clerk. Transmitted re: 68 Clerk's Judgment to the
                 Docket Assistant Clerk for case processing. (km) (Entered: 04/18/2018)
04/19/2018       Mailed a copy of 68 Clerk's Judgment to Neelam Taneja P.O. Box 1002 Largo, FL
                 33779. (mhe) (Entered: 04/19/2018)
04/24/2018   69 NOTICE OF APPEAL from 68 Clerk's Judgment, 67 Memorandum & Opinion.
                Document filed by Neelam Taneja. Form D−P is due within 14 days to the Court of
                Appeals, Second Circuit. (tp) (Entered: 04/25/2018)
04/25/2018       Transmission of Notice of Appeal and Certified Copy of Docket Sheet to US Court of
                 Appeals re: 69 Notice of Appeal. (tp) (Entered: 04/25/2018)
04/25/2018       Appeal Record Sent to USCA (Electronic File). Certified Indexed record on Appeal
                 Electronic Files for 69 Notice of Appeal filed by Neelam Taneja were transmitted to
                 the U.S. Court of Appeals. (tp) (Entered: 04/25/2018)
